Case 3:18-mj-02071-RBB-GPC Document 23 Filed 05/10/18 Page|D.lS€ Pagelofl

__ UN|TED STATES DlSTRlCT COURT _: .
SOUT.HERN DlSTRlCT OF __CAL|FORNIA `

CASE NUMBER !2/; Mr\f£` Q) |

)
vs - _ g ABSTRACT OF ORDER
_ § Booking No. {jxi§ 9(/7/;1-€/ §
lle ll/“@‘ “<@*… '” ‘/ … ve view s

TO lelE_Ul\llTED STATES MARSHAL AND / O_R_WARDEN, METROPC?LITAlj CORRECT!ONAL CENTER: `- -_ -~
7 _ B_e advised that under date of _ 13 1 l \:/"_1 _l `?)`3
the Court entered the following order:

- UN|TED`STATES OF _AMEF||CA

___Cb__ Defendant be released from custody.

f _ Def_end_a_nt placed on supervised / unsupervised probation l supervised rei_ease.

~Defendant continued on supervised / unsupervised probation /-supervis_ed release.

 

__[{L Defendant released on $ ` 0 5 00 0 §§ / § _ _ _ _ ' bond posted.
____________ Defendant appeared in Court. FtNGERPH|NT & RELEASE.- ` _ l -
Defendant remanded and_{ . bond) ( ' bond on appeal}_ exonerated

_ Defendan_tsen_tenced _to:_TIME SElFlVED, supervised release for -¢ - years.

Bench Warrant Flecal|ed.
Defendant forfeited collatera|.
Case dismissed.'

Case dismissed, charges pending in case no.

 

Defendant to be released to Pretrial Services for electronic monitoring.

Other.

 

'lf»`< w ven 153 _ lif,~w’"@<>l <f`~ §

 

 

 

/ uNlTED sTATEs DlsTRlcTiMAclsTRATE JuDGE"
on
neceived gon_v/MORRCL _ clerk
._ iii
5"` j ~ Deputy Clerk
(l.~»'/ \
_Crim_g mem 8_11) _ v 1 * u.s.ePa 1aoe-rsa-sea/4o1s1
l/f (__rd..<{

CLERK’F}`§> COPY

 

